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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Brian Swontek,                                  No. CV-16-03602-PHX-DJH
10                  Plaintiff,                       ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                    Defendants.
14
15            The Court having received the parties' Stipulation for Dismissal of Defendant
16   Experian Information Solutions, Inc. with Prejudice (Doc. 90),
17            IT IS ORDERED approving the Stipulation (Doc. 90) and dismissing this action
18   as to Defendant Experian Information Solutions, Inc. only, with prejudice, each party to
19   bear its own attorneys’ fees and costs.
20            IT IS FURTHER ORDERED directing the Clerk of Court to terminate Defendant
21   Experian Information Solutions, Inc. only.
22            Dated this 6th day of March, 2018.
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                                                   Honorable Diane J. Humetewa
26                                                 United States District Judge
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